Case 5:21-cv-00056-LGW-BWC Document 136-6 Filed 12/19/23 Page 1 of 7




                           Declaration of
                       Elizabeth McNamara
                               Exhibit 6
Case 5:21-cv-00056-LGW-BWC Document 136-6 Filed 12/19/23 Page 2 of 7




                               (b) (6)




                                                                DHS000034
      Case 5:21-cv-00056-LGW-BWC Document 136-6 Filed 12/19/23 Page 3 of 7




                                             (b)
                                             (6)
(b)
(6)




                                                                      DHS000035
          Case 5:21-cv-00056-LGW-BWC Document 136-6 Filed 12/19/23 Page 4 of 7




                      (b) (6)
(b) (6)




                                                                          DHS000036
Case 5:21-cv-00056-LGW-BWC Document 136-6 Filed 12/19/23 Page 5 of 7




 (b) (6)




                                                                DHS000037
            Case 5:21-cv-00056-LGW-BWC Document 136-6 Filed 12/19/23 Page 6 of 7




      (b) (6)                                                     (b) (6)




 (b) (6)




 (b) (6)




  (b) (6)




  (b) (6)




(b) (6)




(b) (6)




                                                                            DHS000038
             Case 5:21-cv-00056-LGW-BWC Document 136-6 Filed 12/19/23 Page 7 of 7




   (b) (6)




   (b) (6)




  (b) (6)




(b) (6)




  (b) (6)




 (b) (6)




                                                                             DHS000039
